           Case 22-90102-AKM-7                        Doc 19          Filed 02/26/22              EOD 02/27/22 00:15:15                       Pg 1 of 3
                                                                United States Bankruptcy Court
                                                                 Southern District of Indiana
In re:                                                                                                                   Case No. 22-90102-AKM
Timothy Lee Stark                                                                                                        Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0756-4                                                    User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 24, 2022                                                 Form ID: SF00200                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 26, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                      Date/Time                 Recipient Name and Address
db                      + Email/PDF: wildlifeinneed@aol.com
                                                                                          Feb 24 2022 21:17:00      Timothy Lee Stark, PO Box 114, Charlestown, IN
                                                                                                                    47111-0114

TOTAL: 1


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 26, 2022                                             Signature:            /s/Joseph Speetjens




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 24, 2022 at the address(es) listed
below:
Name                                Email Address
Amanda Koziura Quick
                                    on behalf of Creditor State of Indiana Amanda.Quick@atg.in.gov Marie.Baker@atg.in.gov

Charity S Bird
                                    cbn@neukommtrustee.com
                                    cbn@trustesolutions.net;assistant@neukommtrustee.com;crambicure@merlegal.com;KY60@ecfcbis.com;tyeager@kaplanjohnso
                                    nlaw.com

Heather M. Crockett
                                    on behalf of Creditor State of Indiana Heather.Crockett@atg.in.gov marie.baker@atg.in.gov

Kayla D. Britton
                                    on behalf of Creditor Indianapolis Zoological Society Inc. kayla.britton@faegredrinker.com, noticeFRindy@faegrebd.com
           Case 22-90102-AKM-7            Doc 19          Filed 02/26/22            EOD 02/27/22 00:15:15                    Pg 2 of 3
District/off: 0756-4                                       User: admin                                                             Page 2 of 2
Date Rcvd: Feb 24, 2022                                    Form ID: SF00200                                                       Total Noticed: 1
Lisa Koch Bryant
                          on behalf of Creditor People for the Ethical Treatment of Animals lbryant@tilfordlaw.com cgregory@tilfordlaw.com

Ronald J. Moore
                          on behalf of U.S. Trustee U.S. Trustee Ronald.Moore@usdoj.gov

U.S. Trustee
                          ustpregion10.in.ecf@usdoj.gov


TOTAL: 7
    Case 22-90102-AKM-7        Doc 19   Filed 02/26/22   EOD 02/27/22 00:15:15   Pg 3 of 3

                           UNITED STATES BANKRUPTCY COURT                   SF00200 (rev 11/2020)
                                 Southern District of Indiana
                                121 W. Spring St., Rm. 110
                                   New Albany, IN 47150
In re:

Timothy Lee Stark,                                       Case No. 22−90102−AKM−7
            Debtor.

                                    NOTICE OF HEARING

The Court, after reviewing this case, determines that a hearing is required to evaluate the
following matter(s):

         Hearing on Debtor's Application for Waiver of Chapter 7 Filing Fee with a
         Limited Objection filed by the Trustee

NOTICE IS GIVEN that a hearing will be held as follows:

         Date: March 7, 2022
         Time: 11:30 AM EST
         Place: 877−873−8018; access code 1337825

Motions for continuance must be filed no later than 7 days prior to the hearing. Motions
for continuance filed less than 7 days prior to the hearing will be granted only upon a
showing of good cause. Every motion for continuance must indicate whether opposing
counsel objects to the continuance or what efforts were made to contact opposing
counsel regarding the request for continuance.

Any referenced document can be found at pacer.insb.uscourts.gov or may be requested
from the filing parties.

Dated: February 24, 2022                        Eric R. Kleis
                                                Clerk, U.S. Bankruptcy Court
